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MAM CMUodeii clic am em Ce (claLiiA me Zell mer: cick

United States Bankruptcy Court for the:

DISTRICT OF NEVADA

 

Case number (if known) Chapter you are filing under:

 

i Chapter 7
0 Chapter 11
Oi Chapter 12

C1 Chapter 13 (Check if this is an
amended filing

 

 

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 42/22

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The same person must be Debtor 7 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If

more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

Identify Yourself

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
Write the name thatis on = Robin Donya
your government-issued First name First name
picture identification (for
example, your driver's Linus Tina
license or passport). Middle name Middle name
Bring your picture
identification to your Lehner Lehner
Last name and Suffix (Sr., Jr. i, Ili) Last name and Suffix (Sr., Jr., Il, lil)

meeting with the trustee.

 

2. All other names you have
used in the last 8 years

Include your married or
maiden names and any
assumed, trade names and
doing business as names.

Do NOT list the name of
any separate legal entity
such as a corporation,
partnership, or LLC that is
not filing this petition.

 

3. Only the last 4 digits of
your Social Security
number or federal XXX-XX-4303 X0-XX-3177
Individual Taxpayer
Identification number
(ITIN)

 

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Case 22-14616-nmc

Doc 1

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Debtor 1

Robin Linus Lehner
Debtor2 Donya Tina Lehner

 

Your Employer
Identification Number
(EIN), if any.

About Debtor 1:

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Case number (if known)

About Debtor 2 (Spouse Only in a Joint Case):

 

EIN

EIN

 

5. Where you live

9501 Balatta Canyon Ct.
Las Vegas, NV 89144

If Debtor 2 lives at a different address:

 

Number, Street, City, State & ZIP Code

Clark

Number, Street, City, State & ZIP Code

 

County

If your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address.

County

If Debtor 2's mailing address is different from yours, fill it
in here. Note that the court will send any notices to this
mailing address.

 

Number, P.O. Box, Street, City, State & ZIP Code

Number, P.O. Box, Street, City, State & ZIP Code

 

6. Why you are choosing
this district to file for
bankruptcy

Check one:

M Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

O_thave another reason.
Explain. (See 28 U.S.C. § 1408.)

Check one:

Over the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

| have another reason.
Explain. (See 28 U.S.C. § 1408.)

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2
Debtor 1

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Robin Linus Lehner
Debtor2 Donya Tina Lehner

Tell the Court About Your Bankruptcy Case

Doc 1

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Case number (if known)

 

 

 

 

 

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
choosing to file under

Hi Chapter 7

Co Chapter 11

O Chapter 12

O Chapter 13

8. Howyouwill pay the fee [| will pay the entire fee when | file my petition. Please check with the clerk’s office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address.

O__ I need to pay the fee in installments. If you choose this option, sign and attach the Application for individuals to Pay
The Filing Fee in Installments (Official Form 103A).

0 __siIrequest that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

9. Have you filed for HiNo

bankruptcy within the ,
last 8 years? O Yes.
District When Case number
District When Case number
District When Case number
10. Are any bankruptcy MNo
cases pending or being
filed byaspouse whois [1 Yes.
not filing this case with
you, or by a business
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known
Debtor Relationship to you
District When Case number, if known
11. Do you rent your IE No. Go to line 12.
residence? .
O ves. Has your landlord obtained an eviction judgment against you?

oO No. Go to line 12.

oO Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
this bankruptcy petition.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

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Debtor 1 Robin Linus Lehner

Debtor2 Donya Tina Lehner Case number (if known)

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor
of any full- or part-time
business?

E No. Go to Part 4.

C1 Yes. Name and location of business

A sole proprietorship is a
business you operate as
an individual, and is nota
separate legal entity such
as a corporation,
partnership, or LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach
it to this petition.

 

Name of business, if any

 

Number, Street, City, State & ZIP Code

Check the appropriate box to describe your business:
Health Care Business (as defined in 11 U.S.C. § 101(27A))

Singie Asset Real Estate (as defined in 11 U.S.C. § 101(61B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))
Commodity Broker (as defined in 11 U.S.C. § 101(6))

None of the above

Hownoaad

 

 

if you are filing under Chapter 11, the court must know whether you are a smail business debtor or a debtor choosing to
proceed under Subchapter V so that it can set appropriate deadlines. \f you indicate that you are a small business debtor or
you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
§ 1116(1)(B).

13. Are you filing under
Chapter 11 of the
Bankruptcy Code, and
are you a small business
debtor or a debtor as

defined by 11 U.S.C. § No | am not filing under Chapter 11.
1182(1)? ‘
For a definition of small . . . Say
business debtor, see 11 ONo. cam fling under Chapter 11, but | am NOT a small business debtor according to the definition in the Bankruptcy
U.S.C. § 101(51D). .
O yes. | am filing under Chapter 11, | am a small business debtor according to the definition in the Bankruptcy Code, and
| do not choose to proceed under Subchapter V of Chapter 11.
O Yes. | am filing under Chapter 11, i am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and |

choose to proceed under Subchapter V of Chapter 11.

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

 

14. Do you ownorhave any [] No.
property that poses or is
alleged to pose athreat Ml Yes.

of imminent and What is the hazard?

 

identifiable hazard to
public heaith or safety?

Debtor owns RL Exotics, LLC, which operates a reptile farm in Plato,
Or do you own any

If immediate attention is Missouri, which is an operating business with 3 employees, and which

property that needs
immediate attention?

For example, do you own
perishable goods, or
livestock that must be fed,
or a building that needs
urgent repairs?

needed, why is it needed?

Where is the property?

requires reptiles to be maintained and fed.

 

RL Exotics, LLC
42055 Dawn Rd.
Plato, MO , 65552-0000

 

Number, Street, City, State & Zip Code

 

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Debtor 1
Debtor2 Donya Tina Lehner

Robin Linus Lehner

 

Explain Your Efforts to Receive a Briefing About Credit Counseling

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Case number (if known)

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. If you cannot do
so, you are not eligible to
file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

About Debtor 4:
You must check one:

| received a briefing from an approved credit E
counseling agency within the 180 days before |

filed this bankruptcy petition, and | received a

certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

| received a briefing from an approved credit oO
counseling agency within the 180 days before |

filed this bankruptcy petition, but 1 do not have

a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

| certify that | asked for credit counseling QO
services from an approved agency, but was

unable to obtain those services during the 7

days after | made my request, and exigent
circumstances merit a 30-day temporary waiver

of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted

only for cause and is limited to a maximum of 15

days.

lam not required to receive a briefing about Ol
credit counseling because of:

0 _—CsiIncapacity.
| have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

O_sODisability.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after |
reasonably tried to do so.

= Active duty.
1am currently on active military duty in a
military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case):
You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but | do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

| certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy.

If the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do so, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

Lam not required to receive a briefing about credit
counseling because of:

(_sIncapacity.
| have a mental iliness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

O_sODisability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after | reasonably tried to
do so.

Ol Active duty.
| am currently on active military duty in a military
combat zone.

If you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

 

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Debtor 1

Robin Linus Lehner
Debtor2 Donya Tina Lehner

Case number (if known)

 

Answer These Questions for Reporting Purposes

 

 

 

 

 

16. What kind of debts do 16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
you have? individual primarily for a personal, family, or household purpose.”
EE No. Go to line 16b.
C1 Yes. Go to line 17.
16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.
D1 No. Go to line 16c.
& Yes. Go to line 17.
16¢. State the type of debts you owe that are not consumer debts or business debts
17. Are you filing under CONo. |! amnot filing under Chapter 7. Go to line 18.
Chapter 7?
Do you estimate that EE Yes | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
after any exempt ‘are paid that funds will be available to distribute to unsecured creditors?
property is excluded and
administrative expenses OONo
are paid that funds will
be available for EE Yes
distribution to unsecured
creditors?
18. How many Creditors do = 4.49 [1 1,000-5,000 O 25,001-50,000
you estimate thatyou = 50.99 [1] 5001-10,000 C1 50,001-100,000
, CO 100-199 0 10,001-25,000 C1 More than100,000
1 200-999
19. How much do you O $0 - $50,000 Hl $1,000,001 - $10 million C1 $500,000,004 - $1 billion

estimate your assets to
be worth?

Oi $50,001 - $100,000
1 $100,001 - $500,000
1 $500,001 - $1 million

© $10,000,001 - $50 million
[2] $50,000,001 - $100 million
0 $100,000,001 - $500 million

C1 $1,000,000,001 - $10 billion
Ci $10,000,000,001 - $50 billion
CO More than $50 billion

 

20. How much do you
estimate your liabilities
to be?

CQ $0 - $50,000

1 $50,001 - $100,000
1 $100,001 - $500,000
0 $500,001 - $1 million

C1 $1,000,001 - $10 million

HE $10,000,004 - $50 million
C1 $50,000,004 - $100 million
C] $100,000,001 - $500 million

CJ $500,000,001 - $4 billion

1 $1,000,000,001 - $10 billion
1 $10,000,000,001 - $50 billion
C More than $50 billion

 

 

ieee Sign Below

 

For you

| have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out this
document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

{ understand making a false statement, concealing property, or. ons EAB CY or eee by fraud in connection with a
a #4¥e can result in fines up to $250,000, or imprisgnmery tor Up-to,20, years, gr both. 18 U.S.C. §§ 152, 1341, 1519,

ls

       
  

 

Obi "Bhner
Signature of Debtor 1

Donya ta lab
Signature of Debtor 2

Executed on

Executed on December 30, 2022

MM /DD/YYYY

December 30, 2022
MM /DD/YYYY

 

 

Official Form 101

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Debtor 1. Robin Linus Lehner
Debtor2 Donya Tina Lehner

Case number (if known)

 

For your attorney, if you are
represented by one

If you are not represented by
an attorney, you do not need
to file this page.

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility to proceed
under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
for which the person is eligible. | also certify that | have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
and, in a case in,which § 707(b)(4)(D) applies, certify that | have no knowledge after an inquiry that the information in the
schedules filed With the petitiqris/incorrect. '

thie qi e\eo
7h Date _December 30, 2022

    

 
 

     
 
  

 

 

Signature of Attorney for Debiowy7 MM /DD/YYYY

Matthew C. Zirzow 7222

Printed name

Larson & Zirzow, LLC
Firm name
850 E. Bonneviile Ave.

Las Vegas, NV 89101
Number, Street, City, State & ZIP Code

Contact phone 702-382-1170 Email address mzirzow@Izlawnv.com

 

 

7222 NV

Bar number & State

 

Official Form 101

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United States Bankruptcy Court
District of Nevada

Robin Linus Lehner
Inte — Donya Tina Lehner Case No.

 

Debtor(s) Chapter 7

 

VERIFICATION OF CREDITOR MATRIX

The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.

DocuSigned by:

Date: December 30, 2022

 

 

Freer sas:

Robin Linus Lehner

TeipapuTe st Debtor
Date: December 30, 2022

Donya Tina Lehner
Signature of Debtor

    

DocuSigned by:

Dona (uumer

 
Case 22-14616-nmc

Robin Linus Lehner
Donya Tina Lehner
9501 Balatta Canyon Ct.
Las Vegas, NV 89144

Clark County Assessor

c/o Bankruptcy Clerk

500 S. Grand Central Pkwy
Box 551401

Las Vegas, NV 89155

Social Security Administration
Office of the Regional Chief Counsel
Region IX

160 Spear Street, Ste. 800

San Francisco, CA 94105-1545

Black Knight Sports & Entmt, LLC
Attn: Michael Gravelle, as Reg. Agen
1701 Village Center Circle

Las Vegas, NV 89134

C6 Capital Funding LLC

Attn: Andrew Fellus

clo 8791 S. Redwood Rd., Suite 200
West Jordan, UT 84088

David M. Herrera

clo Chuhak & Tecson

Attn: Kevin Coyne, Esq.

120 S. Riverside Plz, Suite 1700
Chicago, IL 60606-3911

Digital Asset Redemption, LLC
Attn: Matthew Leidlein, Director
318 W Adams St., 10th Floor
Chicago, IL 60606

Dr. Michael Vazquez

c/o Venous Institute of Buffalo
4927 Main Street, Suite 400
Buffalo, NY 14226

Gerald M. Thompson
1827 Grant St., #503
Denver, CO 80203

JHB Collective, LLC
Attn: Joshua Buchwald, Manager
1480 NW 48th Lane
Boca Raton, FL 33431

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Internal Revenue Service

Attn: Bankruptcy Dept/Managing Agent
P.O. Box 7346

Philadelphia, PA 19101

Dept. of Empl, Training & Rehab
Employment Security Division

500 East Third Street

Carson City, NV 89713

Anne Meade

c/o Harris Beach, PLLC

Attn: Frank Muggia, Esq.

726 Exchange Street, Suite 1000
Buffalo, NY 14210

Bredan, LLC

Attn: Daniel L. Gelb, Manager
9617 Oak Ridge Trail

Hopkins, MN 55305

Citadel Servicing Corp.

dba ACRA Lending

Attn: Bankruptcy Dept/Managing Agent
25531 Commercentre Dr., Ste. 160
CA 92361

Derrick Bushman & Sanjay Patel
clo Messerli Kramer

Attn: Brett Larson, Esq.

100 South Fifth Street
Minneapolis, MN 55402

DMC Financing, LLC

Attn: Clark A. Gassen, Manager
1907 Wayzata Blvd. Ste. 180
Wayzata, MN 55391

Dynasty Capital 26 LLC

Attn: Legal Department

96-14 Metropoloitan Ave., 2nd FI.
Forest Hills, NY 11375

Jackson Lending, LP

Attn: Bankr. Dept/Managing Adgt.
3220 W. 98th St., Ste 201
Evergreen Park, IL 60805

John Hochbaum
c/o ICS Funding
3759 North Wayne Ave. 1\W
Chicago, IL 60613

Clark County Treasurer
c/o Bankruptcy Clerk

500 S. Grand Central Pkwy
P.O. Box 551220

Las Vegas, NV 89155

Nevada Dept. of Taxation
Bankruptcy Section

555 E. Washington Avenue #1300
Las Vegas, NV 89101

ASLA Capital LLC

Attn: Alfonso G. Soriano

200 S. Biscayne Blvd., Ste. 4100
Miami, FL 33131

Bryan Cave Leighton Paisner, LLP
One Metropolitan Square

211 N. Broadway, Suite 3600
Saint Louis, MO 63102-2750

Commercial Capital BIDCO, Inc.
Attn: Terry Luker, as Reg. Agft.
133 Holiday Ct., Suite 207
Franklin, TN 37067

Deutsche Bank Luxembourg S.A.
2, Boulevard Konrad Adenauer

L - 1115

LUXEMBOURG

Dr. Michael Parentis

clo WNY Knee & Ortho. Surg., PC
3085 Southwestern Blvd., # 203
Orchard Park, NY 14127

Eclipse Service, Inc.
c/o Steven P. Hribar
1509 N. Prospect Ave.
Milwaukee, WI 53202

James Kirchmeyer
Rupp Baase, et al., LLC
Attn: Matthew Miller, Esq.
Buffalo, NY 14202

Jonas Hagerback

c/o IMH Finans
Kommendérsgatan
25, 114 48 Stockholm
SWEDEN
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Jonathan Morris

clo AJ Trucking, LLC
23 N. Wabash Ave.
Chicago, IL 60602

Leon Muhammad

c/o Bridge Energy Sports, LLC
7400 South Stony Island
Chicago, IL 60649

Metro Park LLC

Attn: Bryan Schroeder
1000 S. Hamlin Ave.
Park Ridge, IL 60068

Paul T. Croft
10845 Griffith Peak Drive #2
Las Vegas, NV 89135

Putnam Leasing Co I, LLC
Attn: Bankruptcy Dep't

500 West Putnam Ave., 4th FI.
Greenwich, CT 06830

South River Capital LLC
Attn: Jim Plack

1 Park Place, Suite 540
Annapolis, MD 21401

Taurus Hl LLC

cio Basran Law Office

Attn: Sandeep Basran

2543 N. Milwaukee Ave., 2nd Flr.
Chicago, IL 60647

Zachary Williams

330 Nepean St.

Ottowa, Ontario K1R 5G6
CANADA

Arizona Department of Revenue
Attn: Bankruptcy Dept/Managing Agent
PO Box 29010

Phoenix, AZ 85038-9010

Bank of America, N.A.
Attn: Bankruptcy Dep't
P.O. Box 15284
Wilmington, DE 19850

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JRG Living Trust dtd 10/19/16
John & Robin Grant, Trustees
11447 Opal: Springs Way

Las Vegas, NV 89135

Marquis Aurbach
40001 Park Run Dr.
Las Vegas, NV 89145

Midland Holdings, LLC

Attn: Bankr. Dept/Managing Agt.
514 Abbey Way

Mendota Heights, MN 55120

Paul T. Croft
10845 Grifftin Peak Drive #2
Las Vegas, NV 89135

RMSPC Funding, LLC

c/o RainMaker Holding Group, LLC
Attn: Manager/Bankruptcy Dep't
13 Arcadia Rd. 2

Old Greenwich, CT 06870

SuperNova Eighty Seven LLC
c/o Basran Law Office

Attn: Sandeep Basran

2543 N. Milwaukee Ave., 2nd Flr.
Chicago, IL 60647

Taurus LLC

cio Basran Law Office

Attn: Sandeep Basran

2543 N. Milwaukee Ave., 2nd Fir.
Chicago, IL 60647

Advokatfirman Helios

Attn: Clas Jérgensen
Stockholmskontor, Garvargatan 5
412 21 Stockholm

SWEDEN

ASLA Capital, LLC

c/o Kiley Robbins

2116 Hollywood Bvd. #116
Hollywood, FL 33020

BDO USA, LLP
Attn: Bankr. Dep't/Managing Agt.
330 N. Wabash Ave., Suite 3200
Chicago, IL 60611

Legacy Capital Group, LLC
Attn: Josh Greenblatt

77 Water St.

New York, NY 10004

Merle Whitehead

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